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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-01376-NRN

WENDY FAUSTIN,

Plaintiff,

v.

JARED POLIS, in his official capacity as Governor of Colorado;
PHILIP J. WEISER, in his official capacity as Colorado Attorney General;
JOHN KELLNER, in his official capacity as District Attorney for the 18th Judicial District;
SAM WATSON, in his official capacity as Chief of the Englewood Police Department;
CITY AND COUNTY OF DENVER;
BETH MCCANN, in her official capacity as District Attorney for the 2nd Judicial District;
KERRY C. TIPPER, in her official capacity as City Attorney of Denver; and
RON THOMAS, in his official capacity as Chief of the Denver Police Department,

Defendants.

     ORDER SETTING SCHEDULING/PLANNING CONFERENCE AND SETTING
         DEADLINE FOR FILING OF CONSENT/NON-CONSENT FORM

Entered by U.S. Magistrate Judge N. Reid Neureiter

       The above-captioned case has been directly assigned to Magistrate Judge N. Reid
Neureiter pursuant to D.C.COLO.LCivR 40.1(c) - Direct Assignment to Magistrate Judges.

        IT IS HEREBY ORDERED that Plaintiff shall promptly serve Defendants.

       IT IS FURTHER ORDERED that on or before September 5, 2023, the parties
shall complete and file the Consent/Non-Consent Form (see Dkt. #8), indicating
either unanimous consent of the parties or that consent has been declined.
Please note that this date may be earlier than the default deadlines contemplated
by D.C.COLO.LCivR 40.1(c)(4).

      IT IS FURTHER ORDERED that a Scheduling/Planning Conference pursuant to
Fed.R.Civ.P.16(b) shall be held on:
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                             September 19, 2023 at 9:30 a.m.
                                  in Courtroom C-203,
                                      Second Floor,
                            Byron G. Rogers U.S. Courthouse,
                                    1929 Stout Street,
                                Denver, Colorado 80294


       The Scheduling Conference will be conducted via telephone. The parties
are directed to call the conference line as a participant at (888) 398-2342, Access
Code 5755390# at the scheduled time.

      If this date is not convenient for any counsel/pro se party, he/she should confer with
opposing counsel/pro se party and file a motion to reschedule the conference to a more
convenient date. Absent exceptional circumstances, no request for rescheduling any
appearance in this court will be entertained unless a motion is filed no less than FIVE (5)
business days in advance of the date of appearance.

       IT IS FURTHER ORDERED that Plaintiff shall notify Defendants of the date and
time of the Scheduling/Planning Conference.

         IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a
pre-scheduling conference meeting and prepare a proposed Scheduling Order in
accordance with Fed. R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and 26.1(a) on or before
21 days prior to scheduling conference. Pursuant to Fed. R. Civ. P. 26(d) no discovery
shall be sought until after the pre-scheduling conference meeting. No later than five (5)
business days prior to the Scheduling/Planning Conference, counsel/pro se parties shall
file their proposed Scheduling Order (in PDF) in compliance with the ECF Filing
Procedures, and shall also email a copy of the proposed Scheduling Order (as a Microsoft
Word document) to Neureiter_Chambers@cod.uscourts.gov. In addition, on or before
fourteen (14) days after the pre-scheduling conference meeting, the parties shall comply
with the mandatory disclosure requirements of Fed. R. Civ. P. 26(a)(1).

       Counsel/pro se parties shall prepare the proposed Scheduling Order as provided in
D.C.COLO.LCivR 16.1 in accordance with the form and instructions which may be found
through the links in D.C.COLO.LCivR 16.2 and 26.1(a). Parties who are unrepresented
and do not have access to the internet may visit the Clerk’s Office in Alfred A. Arraj U.S.
Courthouse, 901 19th Street, Room A-105, Denver, Colorado. (The Clerk’s Office
telephone number is (303) 844-3433.) Scheduling Orders prepared by parties not
represented by counsel, or without access to ECF, shall be submitted on paper.

        All out-of-state counsel shall comply with D.C.COLO.LAttyR 3(a) prior to the
Scheduling/Planning Conference. It is the responsibility of counsel to notice the court of
their entry of appearance, notice of withdrawal, or notice of change of counsel’s address,
e-mail address, or telephone number by complying with the ECF Procedures and filing the
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appropriate motion or document with the court.

       Please remember that everyone seeking entry into the Byron G. Rogers U.S.
Courthouse will be required to show valid photo identification and be subject to security
procedures. See D.C.COLO.LCivR 83.2. Failure to comply with the identification
requirement and security procedures will result in denial of entry into the Byron G. Rogers
U.S. Courthouse.

              DONE AND SIGNED THIS 2nd DAY OF JUNE, 2023.

                                           BY THE COURT:

                                           s/N. Reid Neureiter
                                           N. REID NEUREITER
                                           United States Magistrate Judge
